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                                        184907



                     IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



  IN RE JOHNSON & JOHNSON                    Civil No. 3:16-md-2738-MAS-RLS
  TALCUM POWDER PRODUCTS
  MARKETING, SALES, PRACTICES
  AND PRODUCTS LIABILITY
  LITIGATION

  This document relates to:
  LEANORA LOUISA RICHARDS
  Case No. 3:24-CV-03548



                            AMENDED NOTICE OF FILING

       Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

 Complaints) that the Amended Short Form Complaint and Jury Demand was filed on 05/31/2024

 on behalf of LEANORA LOUISA RICHARDS, Individually.


 DATED: 06/03/2024                          Respectfully submitted,

                                            By: /s/ Daniel J. Thornburgh

                                            Daniel J. Thornburgh
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                                            184908


                                 CERTIFICATE OF SERVICE

        I hereby certify that on 06/03/2024, a copy of the foregoing NOTICE OF FILING was

 filed via the Court’s CM/ECF electronic filing system. Notice of this filing will be sent by

 operation of the Court’s electronic filing system to all parties indicated on the electronic filing

 receipt. Parties may access this filing through the Court’s system.


                                                 Respectfully submitted,

                                                 By: /s/ Daniel J. Thornburgh

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